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UNITED STATES l)lS'I`RICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
LARRY STEVE MELTON, )
LARRY S. MELTON, and )
R & J OF TENNESSEE, INC., )
)
Plaintiffs, )
)
vs. ) No.: 1-02-1152 B
) JURY DEMANDED
BANK OF LEXINGTON, et al. )
)
Defendants. )

ORDER GRANTING DEFENDANT, DANIEL PERKY’S MOTION FOR SUMMARY
JUDGMENT AND DISMISSING CLAIMS AGAINST DANIEL PERKY

The Court, the Honorable United States District Judge J. Daniel Breen, presiding,
conducted a status conference in this case on May 27, 2005. The Court announced at that time
that it had considered a number of pending motions before the Court. Among the motions
addressed was the Motion t`or Summary Judgment filed by Defendant, Daniel Perky (Docket
Entry # 472 & # 473) to dismiss all claims filed by Larry S. Melton against Daniel Perky as
described in a pleading styled “Counterclaims/Crossclaims Complaint.” (Docket Entry #416).

The Court considered Defendant Perky’s Motion for Summary Judgment and supporting
documentation and the response filed thereto by Larry S. Melton (Docket Entry # 545), as well
as the other relevant pleadings and documentation in accordance With Rule 56, Fed. R. Civ. P.,

and the standard enunciated by the United States Supreme Court in Celotex v. Caltrett 477 U.S.

 

317, 106 S.Ct. 2548, 61 L.Ed.2d 265 (1986) and the Sixth Circuit Court of Appeals in Street v.

J.C. Bradford 886 F.2d 1472 (6th Cir. 1989). Having considered such matters, the Couit

 

announced that it considered Defendant Perky’S Motion for Summary Judgment to be well taken

and stated that the Court was granting said Defendant’s motion. At`ter careful review of the

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undisputed facts relevant to Mr. Melton’s allegations against Mr. Perky, the Court announced its
determination that Mr. Melton had failed to present any viable claim or theory against
Defendant, Daniel Perky, upon which relief may be granted. lt is undisputed that Mr. Perky had
no professional relationship with Larry S. Melton. lt is undisputed that Mr. Perky served as a
substitute trustee for a very brief period of time from approximately October, 16, 2000 until
March lS, 2001. Mr. Perky Was not involved with any alleged subsequent foreclosure involving
any real estate involving Larry S. Melton or otherwise at issue in this case. No alleged duty of
the type argued by Mr. Melton exists on the undisputed facts relevant to Mr. Melton’s claims,
and if such an alleged duty did exist, no breach of any such duty has been shown to have
occurred.

Accordingly, as indicated by the Court on May 27, 2005, Defendant Daniel Perky’s
Motion for Summary Judgment (Docket Entry # 472) is hereby GRANTED. All claims filed by
Larry S. Melton against said Defendant, Daniel Perky, are hereby DISMISSED. No other party
having asserted any claim against Defendant Daniel Perky or opposed his Motion for Summary
Judgment, Defendant Daniel Perky is hereby dismissed as party to this lawsuit

IT IS SO ORDERED.

<[\
rHls {D day Of ,2005.

J. aniel Breen \
Un' ed States District Judge

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 597 in
case 1:02-CV-01152 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

Craig C. Conley

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL

40 South Main Street
Ste. 2900
l\/lemphis7 TN 38103

William F. Burns
WATSON BURNS, LLC
One Commerce Square
Ste. 2600

l\/lemphis7 TN 38103

Tim Edwards

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
l\/lemphis7 TN 38103

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jackson, TN 38302--114

L. Lee Harrell

HARRELL & HARRELL
110 Northwest Court Sq.
Trenton, TN 38382

John T. Downing

Federal Deposit Ins. Corp.
550 17th Street NW
Washington, DC 20429

John D. Burleson

RAINEY KIZER REVIERE & BELL
105 S. Highland Avenue

Jackson, TN 38302--114

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Robert A. CoX

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

l\/lemphis7 TN 38103

Bradley G. Kirk

CARTER STANFILL & KIRK
25 Natchez Trace Dr.
LeXington, TN 38351

R. Douglas Hanson

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

l\/lemphis7 TN 38103

.lerry E. Mitchell

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

l\/lemphis7 TN 38103--552

Larry S. Melton
116 Hidden Valley Cove
LeXington, TN 38351

John D. Stevens

RAINEY KIZER REVIERE & BELL
209 East Main Street

P. O. BoX 1147

Jackson, TN 38302--114

Beth Maloan
83 Bonaire Circle
Jackson, TN 38305

William S Walton
l\/[[LLER & MARTIN
1200 One Nashville Place
150 Fourth Ave. North
Nashville, TN 37219--243

Daniel D. Warlick

LAW OFFICE OF DAN WARLICK
611 Commerce Street

Ste. 2712

Nashville, TN 37203

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Richard Glassman

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
l\/lemphis7 TN 38103

.l ames L. Kirby

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

l\/lemphis7 TN 38103

.leffrey L. Griffin

HARRIS SHELTON DUNLAP COBB & RYDER
2700 One Commerce Square

l\/lemphis7 TN 38103

.leffrey L. Griffin

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

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